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 1   Mady Chan
     x2405573     6W215
 2   Sacramento County Jail
     651 “I” St.
 3   Sacramento, CA 95814
 4   In Pro Per
 5
     Timothy E. Warriner, Esq. (SB#166128)
 6   Attorney at Law
     1725 Capitol Ave.
 7   Sacramento, CA 95814
     (916) 443-7141
 8   FAX: (916) 448-5346
 9   Stand-by Counsel for Defendant,
     MADY CHAN
10
11
                        IN THE UNITED STATES DISTRICT COURT FOR THE
12
                                 EASTERN DISTRICT OF CALIFORNIA
13
14   UNITED STATES OF AMERICA,           )                No. CR-S 96-350 WBS
                                         )
15               Plaintiff,              )                APPLICATION BY MADY
                                         )                CHAN TO CHANGE STATUS
16                                       )                OF COUNSEL; PROPOSED
                                         )                ORDER
17                                       )
           v.                            )
18                                       )
     MADY CHAN, et al.,                  )
19                                       )
               Defendants.               )
20   ____________________________________)
21          Mr. Chan hereby requests that the court appoint Mr. Timothy E. Warriner as his counsel
22   of record in lieu of Mr. Warriner being his advisory counsel.
23   DATED: November 2, 2007                              /s/ Mady Chan, Defendant
24
25          I hereby request to be appointed as Mr. Chan’s counsel of record in this matter. Mr.
26   Chan has requested to me in writing that I serve as his actual attorney instead of his advisory
27   counsel only.
28   DATED: November 2, 2007                              /s/ Timothy E. Warriner, Attorney at Law
            Case 2:96-cr-00350-WBS Document 743 Filed 11/06/07 Page 2 of 2


 1                                              ORDER
 2         It is hereby ordered that Mr. Warriner be appointed as attorney of record for defendant
 3   Mady Chan.
 4   DATED: November 5, 2007
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